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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

 Earline Johnson,
                                                           C/A No. 3:18-cv-02015-JFA
                        Plaintiff,

 v.                                                     JOINT MOTION TO EXTEND
                                                       EXPERT WITNESS DEADLINES
 Kimsrun Deth and Kim Transport, Inc.,

                        Defendants.



       The parties by and through their undersigned counsel, hereby move pursuant to Rule

16(b)(4), FRCP, and Local Civil Rule 16.02, to amend the scheduling order for good cause shown,

specifically the deadline for the parties to disclose expert witnesses. This motion is based upon the

following:

       1.      The Court filed its amended scheduling order on September 28, 2018, which

included a deadline for the Plaintiff’s expert witness disclosures of January 31, 2019 and the

Defendants’ expert witness disclosures of March 4, 2019.

       2.      Plaintiff respectfully requests an additional 45 days to March 15, 2019, in order to

comply with the deadline, and that the Defendants’ deadline to name expert witnesses be extended

to April 19, 2019.

       3.      The parties do not anticipate that extending these deadlines will affect any other

deadlines in the current scheduling order, including the trial date.

       4.      The parties have been working towards two ends: (1) setting the deposition of the

defendant driver who speaks limited English and lives in California to determine whether there are

any additional assets or insurance coverages that may apply to this case as there are numerous
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claimants other than the Plaintiff; and (2) setting a global settlement conference as the insurance

carrier for the defendants has issued a global tender of its policy limits.

       5.      To date, written discovery has been served on the defendants and the defendant

driver’s deposition has been scheduled for February 12, 2019. Whether additional discovery will

be needed will likely depend on whether the case resolves at the settlement conference.

       6.      As evidenced by the signatures below, all parties consent to the extension and new

proposed deadlines for expert witness disclosures.

       Respectfully submitted,



/s/ Ronald B. Diegel                                           /s/ Bradley L. Lanford
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January 30, 2019                                               January 30, 2019
